Case No. 1:14-cv-02887-JLK-CYC   Document 317-3   filed 08/21/20   USDC Colorado
                                   pg 1 of 2




                 EXHIBIT D
        Case No. 1:14-cv-02887-JLK-CYC                 Document 317-3           filed 08/21/20       USDC Colorado
                                                         pg 2 of 2


Scheffey, Adrienne (Assoc-Den)

From:                                                        @ice.dhs.gov>
Sent:                               Friday, July 24, 2020 2:15 PM
To:                                 Scheffey, Adrienne (Assoc-Den);                                                     ;

Cc:                                 Barnacle, Colin (Ptnr-Den); mley@bfwlaw.com; deismeier@bfwlaw.com
Subject:                            RE: Menocal v. GEO Group - Subpoenas served on ICE


Hi Adrienne,

Ms. Ely did not review the detainee handbook to prepare her declaration. With regard to the sanitation procedures, she
looked at it only to the extent it was necessary to do so in order to prepare the declaration.

Thanks.
From: adrienne.scheffey@akerman.com <adrienne.scheffey@akerman.com>
Sent: Friday, July 24, 2020 12:00 PM
To:                          @ice.dhs.gov>;                   @ice.dhs.gov>; Si
                  @ice.dhs.gov>;                            @ice.dhs.gov>;
Cc: colin.barnacle@akerman.com; mley@bfwlaw.com; deismeier@bfwlaw.com
Subject: RE: Menocal v. GEO Group - Subpoenas served on ICE

CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize and/or trust the
sender. Contact ICE SOC SPAM with questions or concerns.




Following up on this as it is relevant to the same filings that Plaintiffs referenced in their emails about Ms. Sanchez.

Best,

Adrienne Scheffey
Akerman LLP | 1900 Sixteenth Street, Suite 1700 | Denver, CO 80202
D: 303 640 2512 | T: 303 260 7712
adrienne.scheffey@akerman.com

From: Scheffey, Adrienne (Assoc-Den)
Sent: Friday, July 17, 2020 12:22 PM
To: R                        @ice.dhs.gov>;                       @ice.dhs.gov>;
                  @ice.dhs.gov>;                                @ice.dhs.gov>;
Cc: Barnacle, Colin (Ptnr-Den) <colin.barnacle@akerman.com>; mley@bfwlaw.com; deismeier@bfwlaw.com
Subject: RE: Menocal v. GEO Group - Subpoenas served on ICE



Thank you. I want to make sure that I am not misunderstanding your email below. My understanding is that in drafting
the declaration, Ms. Ely reviewed only Contract Nos. ACD-3-C-0008, HSCEOP-06-D-00010, and HSCEDM-11-D-00003
and not the Detainee Handbook or the Sanitation Procedures. Is that correct?

Best,
                                                                1
